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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF OKLAHOMA
                                             :
Amber Creel,                                 :
                                             :
                      Plaintiff,               Civil Action No.: 6:13-cv-00374-FHS
                                             :
                                             :
      v.
                                             :
                                             :
GC Services, L.P.; and DOES 1-10, inclusive, : COMPLAINT AND
                                               DEMAND FOR JURY TRIAL
                                             :
                      Defendants.
                                             :
                                             :

        For this Complaint, Plaintiff, Amber Creel, by undersigned counsel, states as follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by Defendant and its agents in their illegal efforts to collect a consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      Plaintiff, Amber Creel (“Plaintiff”), is an adult individual residing in Tahlequah,

Oklahoma, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant GC Services, L.P. (“GC”), is a Texas business entity with an address

of 6330 Gulfton Street, Houston, Texas 77081, operating as a collection agency, and is a “debt

collector” as the term is defined by 15 U.S.C. § 1692a(6).

        6.      Does 1-10 (the “Collectors”) are individual collectors employed by GC and
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whose identities are currently unknown to Plaintiff. One or more of the Collectors may be joined

as parties once their identities are disclosed through discovery.

       7.      GC at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      Plaintiff allegedly incurred a financial obligation in the approximate amount of

$4,000.00 (the “Debt”) to the Oklahoma Guaranteed Student Loans (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §

1692a(5).

       10.     The Debt was purchased, assigned or transferred to GC for collection, or GC was

employed by the Creditor to collect the Debt.

       11.     Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. GC Engages in Harassment and Abusive Tactics

       12.     Within the last year, GC placed as many as three (3) calls per day to Plaintiff in an

attempt to collect the Debt.

       13.     On several occasions, Plaintiff answered GC’s calls only to have the calls

immediately terminated.

       14.     On other occasions, when Plaintiff was able to speak with a representative, GC

failed to identify the name of its company and failed to inform Plaintiff that the reason for its

calls was debt collection.

       15.     GC also refused to let Plaintiff explain that she was already making payments


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toward the Debt on the 15th of each month. GC then continued to hound Plaintiff with telephone

calls in an attempt to collect the Debt.

   C. Plaintiff Suffered Actual Damages

       16.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendants’ unlawful conduct.

       17.     As a direct consequence of Defendants’ acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

                                 COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692, et seq.

       18.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       19.     Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with collection of the Debt.

       20.     Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent to

annoy and harass Plaintiff.

       21.     Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to Plaintiff without disclosing the identity of the debt collection agency.

       22.     Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used false,

deceptive and/or misleading representations or means in connection with collection of the Debt.

       23.     Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that Defendants failed to

inform Plaintiff that the communications were an attempt to collect the Debt.
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          24.   Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used unfair

and unconscionable means to collect a debt.

          25.   The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the FDCPA.

          26.   Plaintiff is entitled to damages as a result of Defendants’ violations.

                                         COUNT II
                                 INTRUSION UPON SECLUSION

          27.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

          28.   Oklahoma state law recognizes Plaintiff’s right to be free from invasions of

privacy in such a manner as to outrage or cause serious mental suffering, shame, and humiliation

to Plaintiff; thus, Defendants violated Oklahoma state law.

          29.   Defendants intentionally intruded upon Plaintiff’s right to privacy by continually

harassing Plaintiff with phone calls to Plaintiff’s cellular telephone.

          30.   The telephone calls made by Defendants to Plaintiff were so persistent and

repeated with such frequency that they caused serious mental suffering, shame, and humiliation

to Plaintiff thus satisfying the state law requirement for an invasion of privacy.

          31.   The conduct of Defendants in engaging in the illegal collection activities

demonstrated blatant and shocking disregard of Plaintiff’s rights and resulted in multiple

invasions of privacy in such a way as would be considered highly objectionable to a reasonable

person.

          32.   As a result of the intrusions and invasions, Plaintiff is entitled to actual damages

in an amount to be determined at trial from Defendants.

          33.   All acts of Defendants and its agents were committed with malice, intent,

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wantonness, and recklessness, and as such, Defendants are subject to imposition of punitive

damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                      1692k(a)(3);

                  4. Actual damages from Defendants for all damages including emotional

                      distress suffered as a result of the intentional, reckless, and/or negligent

                      FDCPA violations; and intentional and/or reckless invasions of privacy in an

                      amount to be determined at trial for Plaintiff;

                  5. Punitive damages; and

                  6. Such other and further relief as may be just and proper.

Dated: August 21, 2013



                                              Respectfully submitted,

                                              By /s/ Sergei Lemberg

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